
483 F.Supp.2d 1357 (2007)
In re MICHAEL L. BUESGENS LITIGATION.
Michael L. Buesgens
v.
Charles E. Brown, et al., D. District of Columbia, C.A. No. 1:06-1964.
Michael L. Buesgens
v.
United States of America, et al., W.D. Texas, C.A. No. 1:06-967.
No. MDL-1800.
Judicial Panel on Multidistrict Litigation.
April 18, 2007.
Before WM. TERRELL HODGES, Chairman, D. LOWELL JENSEN, J. FREDERICK MOTZ, ROBERT L. MILLER, Jr., KATHRYN H. VRATIL, DAVID R. HANSEN and ANTHONY J. SCIRICA,[*] Judges of the Panel.

ORDER DENYING TRANSFER
WM. TERRELL HODGES, Chairman.
This litigation consists of two actions pending in two federal districts. Before the Panel is a motion by the sole plaintiff, pro se, in both actions, pursuant to 28 U.S.C. § 1407, seeking centralization of the actions for pretrial proceedings in the District of the District of Columbia or in any federal district court other than the Western District of Texas that is outside the Fifth Circuit.[1] The Federal Government[2] and Falcon Ridge[3] defendants oppose the motion.
*1358 On the basis of the papers filed and hearing session held, the Panel finds that Section 1407 transfer would neither serve the convenience of the parties and witnesses nor further the just and efficient conduct of the litigation. Plaintiffs allegations, spawned by his employment and housing situation, can be fairly and expeditiously resolved elsewhere without any further Panel involvement.
IT IS THEREFORE ORDERED that the motion, pursuant to 28 U.S.C. § 1407, for centralization of these actions is denied.[4]
NOTES
[*]  Judge Scirica took no part in the decision of this matter.
[1]  An additional action included on the Section 1407 motion  Michael L. Buesgens v. Donald Ray Tawney, W.D. Texas, C.A. No. 1:07-127  was dismissed with prejudice on March 19, 2007. Accordingly, the question of inclusion of this action in MDL-1800 proceedings is moot. Plaintiff has notified the Panel that he has filed other potentially related actions.
[2]  John W. Snow, Secretary of the Treasury; Marcia H. Coates, EEO Program of the Department of the Treasury; Cari M. Dominguez, Chairman of the Equal Employment Opportunity Commission; Kay Coles James, Director of the Office of Personnel Management; J. Russell George, Inspector General of Treasury Department Tax Administration; and the United States of America.
[3]  Falcon Ridge Apartments; Falcon Apartments of Austin, Ltd.; Falcon Apartments of Austin I, Inc.; Greystar Property Management; GREP General Partner, LLC; Charles E. Brown, P.C.; Armbrust &amp; Brown, LLP; Grady, Jewett &amp; McCulley, LLP; Megan Goeres; Debi Wehmeier; Mandy Rogers; and Amanda Wilson-Torres.
[4]  The request of defendant in the now-dismissed Texas action for attorneys' fees is denied.

